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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                        Civil Case Number: 8:18-cv-01106-CEH-TGW

                                                  :
Sylvester Smith,                                  :
                                                  :
                       Plaintiff,                 :
       v.                                         :
                                                  :
DISH Network, LLC.                                :
                                                  :
                       Defendant.                 :
                                                  :
                                                  :

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a Stipulation of Dismissal of this action with

prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: February 4, 2019

                                                      Respectfully submitted,


                                                      /s/ Tamra Givens
                                                          Tamra Givens, Esq.
                                                          Florida Bar No. 657638
                                                          Lemberg Law, LLC
                                                          43 Danbury Road
                                                          Wilton, CT 06897
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                                                          tgivens@lemberglaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 4, 2019, a true and correct copy of the foregoing Notice

of Settlement was served electronically by the U.S. District Court Middle District of Florida

Electronic Document Filing System (ECF) and that the document is available on the ECF

system.


                                             By_/s/ Tamra Givens______

                                                    Tamra Givens, Esq.
